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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

MATTHEW D. WILLIAMS                           )   3:15-CV-673 (RNC)
    Plaintiff,                                )
                                              )
V                                             )
                                              )
RUSHMORE LOAN MANAGEMENT                      )
SERVICES,LLC                                  )
                                              )
        Defendant.                            )
                                              )
                                              )   November 13,2018


                             STIPULATION FOR DISMISSAL

        Pursuant to Rule 4l(a)(l), plaintiff and defendant hereby stipulate that the within

action may be dismissed with prejudice and without costs or fees to any party.




FOR THE PLAINTIFF                                   FOR THE DEFENDANT

By /s/ Joanne S. Faulkner                          By : /s/l)onald F,- Frechette
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                                  CERTIFICATE OF SERVICE

        I   hereby certify that on November 13, 2018          a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic        filing. Notice of this
f,rling will be sent by email to all parties by operation of the court's electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this document through the court's CM/ECF System.


                                               /s/ Donald E. Frechette
                                               Donald E. Frechette
